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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

                                        )
UNITED STATES OF AMERICA,               )
                                        )       Criminal No. 1:22-cr-00200-APM
               v.                       )
                                        )
    PETER K. NAVARRO,                   )
                                        )
          Defendant.                    )
                                        )

                             [PROPOSED] ORDER

 Upon consideration of Dr. Navarro’s Motion, it is this ___ day of _______, 2022, hereby:

 ORDERED that the Motion is GRANTED.



 SO ORDERED.




                                              The Honorable Amit P. Mehta
                                             United States District Court Judge
